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              UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF TEXAS
                     AUSTIN DIVISION


 Michael Cargill,

                        Plaintiff,
                                                  Case No. 1:19-cv-349-DAE
 v.

 Merrick Garland, et al.,

                        Defendants.


      PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANTS’
        MOTION TO STAY BRIEFING ON PLAINTIFF’S RULE 60
                            MOTION
       Plaintiff Michael Cargill opposes the defendants’ request to stay briefing on his
Rule 60 motion. If the defendants wanted the courts to withhold relief from Mr.
Cargill while they petitioned for certiorari, then they should have asked for the Fifth
Circuit to stay the mandate until the disposition of their certiorari petition. See Fed.
R. App. P. 41(d)(2) (“A party may move to stay the mandate pending the filing of a
petition for a writ of certiorari in the Supreme Court.”). The defendants did not move
to stay the mandate under Rule 41(d)(2), for reasons they have not explained. Now
that the Fifth Circuit has issued its mandate, this Court is duty-bound to implement
the Fifth Circuit’s instructions, regardless of any certiorari petition that the defendants
intend to file.
      The defendants cannot spurn their opportunity to request a stay of the mandate
and then turn around and demand that this Court stay its proceedings on account of
their pending certiorari petition after the Fifth Circuit’s mandate has issued. Once the
mandate has issued it must be obeyed — and the prospect of a certiorari petition does
not alter this Court’s obligation to obey the mandate from a superior court. If the




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defendants had moved to stay the Fifth Circuit’s mandate under Rule 41(a)(2), they
would have had to “show that the petition would present a substantial question and

that there is good cause for a stay.” But they chose to avoid that demanding standard
by seeking a stay of proceedings from this Court, claiming that a district court “has
broad discretion to stay proceedings as an incident to its power to control its own
docket.” Clinton v. Jones, 520 U.S. 681, 706 (1997). Whatever “discretion” a district
court might have to “stay proceedings,” it cannot exercise its discretion in a manner
that defies the mandate of an appellate court by indefinitely postponing the award of
relief that the Fifth Circuit has held Mr. Cargill is entitled to.
     None of the defendants’ arguments for a stay hold water. Their appeal to “judicial
economy” falls flat because the extant “judgment” for Mr. Cargill that fails to specify
the relief awarded leaves everyone in a state of confusion about the status of the final
rule. See Pl.’s Rule 60 Mot., ECF No. 68, at 4.1 No one can justify leaving the parties
(and the rest of the country) in the dark about their legal rights by claiming that
postponing consideration of the question might eventually spare the attorneys and
the Court some extra work. The precedent of Fifth Circuit also makes clear that va-
catur of the final rule is the appropriate remedy in an APA lawsuit of this sort. See
Cargill v. Garland, 57 F.4th 447, 472 (5th Cir. 2023) (en banc) (“[V]acatur of an
agency action is the default rule in this Circuit.”); see also Franciscan Alliance, Inc. v.




1.    See Pl.’s Rule 60 Mot., ECF No. 68, at 4 (“By directing entry of judgment for
      Cargill, the Order arguably granted him the relief requested in the complaint.
      But even if that is correct, the terms of that relief are not clear and will lead to
      confusion unless the Court clarifies their precise scope. Defendants are left in
      doubt regarding their authority to enforce perceived violations of 18 U.S.C. §
      922(o)(1). Cargill is left in doubt regarding whether the judgment authorizes
      him to possess and sell bump stocks and whether he is entitled to recover the
      two bump stocks that he voluntarily surrendered to ATF pursuant to the Final
      Rule.”).


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Becerra, 47 F.4th 368, 374–75 (5th Cir. 2022) (“Vacatur is the only statutorily pre-
scribed remedy for a successful APA challenge to a regulation.”); Data Marketing

Partnership, LP v. United States Dep’t of Labor, 45 F.4th 846, 859 (5th Cir. 2022).
So the remedial issue is not something that should require extensive briefing beyond
citations and discussion of the relevant Fifth Circuit precedents.
    It is also far from clear that the Supreme Court will resolve the scope-of-relief
question if it grants the defendants’ petition for certiorari. The defendants will be
asking the Court to decide the interpretation of 26 U.S.C. § 5845(b), not to deter-
mine the extent of the relief to which Mr. Cargill is entitled. Although a ruling for the
defendants on the statutory question will obviate the need to resolve the remedial
issues in this case, a ruling for the plaintiffs will not necessarily produce a Supreme
Court opinion that weighs in on the appropriate remedy. The Court could simply
announce its interpretation of the statute and then punt the remedial question back
to the lower courts — and such an outcome seems especially likely if this Court decides
to put off the remedial question until after the Supreme Court rules.
    Finally, Mr. Cargill will be severely prejudiced by a stay. Under the terms of the
final rule challenged in this lawsuit, Mr. Cargill was required to surrender his two
bump stocks to the Bureau of Alcohol, Tobacco, Firearms, and Explosives in March
2019 — with the understanding that ATF would return the bump stocks to him if he
prevailed in his challenge to the final rule. ATF has now deprived him of his private
property for more than four years. Under the terms of the Fifth Circuit’s decision,

Cargill is entitled to the immediate return of his property. Yet by seeking a stay, the
defendants are seeking to delay that return. The delay is particularly inappropriate
because ATF explicitly promised that it would return Cargill’s bump stocks if he pre-
vailed in this litigation. A stay will also delay Cargill’s effort to obtain the remainder
of the relief requested in his pending motion, including explicit recognition of his




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right to resume selling bump stocks at Central Texas Gun Works — his thriving busi-
ness in Austin, Texas that sells firearms and offers courses on their safe handling.

                                  CONCLUSION
    The defendants’ motion to stay briefing on plaintiff’s Rule 60 motion should be
denied.

                                              Respectfully submitted.

                                               /s/ Jonathan F. Mitchell
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 Dated: April 11, 2023                        Counsel for Plaintiff




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                         CERTIFICATE OF SERVICE
    I certify that on April 11, 2023, I filed this document electronically with the
United States District Court for the Western District of Texas through its CM/ECF

system. I certify that all participants in the case are registered CM/ECF users and that
service will be accomplished by the CM/ECF system.


                                            /s/ Jonathan F. Mitchell
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